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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )               Crim. No. 21cr134
                                    )               Hon. Carl J. Nichols
MARK SAHADY,                        )
      Defendant.                    )
____________________________________)

             MOTION TO ADOPT, CONFORM AND SUPPLEMENT
   MOTION TO COMPEL DISCOVERY PERTINENT TO SELECTIVE PROSECUTION

       Comes now Defendant Mark Sahady, by counsel, and respectfully requests that he be

permitted to adopt, conform and enjoy the benefits of the motion filed before this Court by David

Lee Judd to Compel Discovery in Support of Mr. Judd’s Claim of Selective Prosecution (United

States v. McCaughey, et al., DDC Case No. 21cr40, ECF No. 138).

                                                    Respectfully Submitted,

                                                    MARK SAHADY
                                                    By Counsel

                                                    _____/s/____________
                                                    John C. Kiyonaga

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                                                    Alexandria, Virginia 22314
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                                                    E-mail: john@johnckiyonagaa.com

                                                    Counsel for the Defendant

                                Certificate of Electronic Service

       I hereby certify that on November 17, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties.
                                                   ____/s/_____________
                                                   John C. Kiyonaga



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